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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER

                                                                                2:20-cv-01882-RAO
James Shayler,
                                                PLAINTIFF(S)
                                v.
                                                                          NOTICE OF DEFICIENCY RE:
                                                                          WRIT OF EXECUTION AND
Ehab S. Yacoub, et al.,                                                    ABSTRACT OF JUDGMENT
                                               DEFENDANT(S)

The document(s) submitted for issuance contains one or more errors, as indicated below, and is being returned
to you for correction. Once the correction(s) has been made, please resubmit the document.

    Writ/abstract must contain the name(s) and address(es) of the judgment debtor.

    Entered date listed on the writ/abstract does not match the entered date of the judgment/order.

    The amount(s) listed in writ/abstract do(es) not coincide with the amount(s) in the judgment/order.

    If there are no amounts for principal, attorney fees, costs or interest, please enter a zero (0) on each line.

    Attested date must be left blank.

    Last four digits of the judgment debtor's driver's license and social security number were not indicated
    on the Abstract of Judgment. If these numbers are unknown, place an "X" in the box labeled "Unknown."

    Original, unexecuted writ of execution must be returned to the clerk prior to the issuance of a successive
    writ if 180 days have not elapsed since the issuance of the original writ.

    Other:
    Defendants must be listed together on one Affidavit and Request for Issuance of Writ of Execution
    (Form CV-24) and one Proposed Writ of Execution (Form CV-23) as the judgment at docket entry 106
    states "Defendants shall pay $20,000..." and does not state "jointly and severally". Therefore, the
    documents at entries 110 & 111 are stricken.


                                                                     Clerk, U. S. District Court


                 May 26, 2022                                        By /s/ Hana Rashad
                     Date                                                Deputy Clerk



CV-52C (09/15)              NOTICE OF DEFICIENCY RE: WRIT OF EXECUTION AND ABSTRACT OF JUDGMENT
